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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

                                                   )
ACADIA PHARMACEUTICALS INC.,                       )
                                                   )
                               Plaintiff,          )
                                                   )
                        v.                             C.A. No. 20-985-GBW
                                                   )
                                                   )
AUROBINDO PHARMA LIMITED et al.,                   )   CONSOLIDATED
                                                   )
                               Defendants.         )
                                                   )
                                                   )


                 PLAINTIFF’S NOTICE OF SUBSEQUENT AUTHORITY

       Pursuant to the United States District Court for the District of Delaware Local Rule

7.1.2(b), Acadia respectfully submits this Notice of Subsequent Authority. On September 27,

2023, Judge Andrews issued a Trial Opinion in Allergan USA, Inc. v. MSN Laboratories Private

Ltd., et al., C.A. No. 19-1727-RGA, D.I. 483 (D. Del. Sept. 27, 2023), which is attached as

Exhibit A. Allergan found various patents invalid under 35 U.S.C. § 112 and also found a first-

filed, first-issued, later-expiring patent invalid for obviousness-type double patenting (OTDP)

over later-filed, later-issued, earlier-expiring patents in the same family. See id. at 22, 40, 41-43.

Although the opinion is relatively abbreviated on the double patenting issue, it is distinguishable

from the arguments sub judice in the cross-motions for summary judgment in the above-

captioned matter (D.I. 260; D.I. 262).

       Allergan rejected equitable considerations as a basis to avoid double patenting in view of

In re Cellect. Ex. A, at 41-42. Allergan does not discuss the unequivocal finding in Cellect

regarding entitlement to duly granted PTA that was discussed extensively at the September 27,

2023 oral argument before the Court: “We do, however, note that the non-asserted claims in the
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challenged patents are entitled to their full term, including the duly granted PTA, unless they

are found to be later-filed obvious variations of earlier-filed, commonly owned claims.” In re

Cellect, No. 2022-1293, 2023 WL 5519716, at *10 (Fed. Cir. Aug. 28, 2023) (emphasis added).

Instead, the opinion incorrectly states that “In re Cellect recognizes no exception to the rule it

announced, whether for first-filed, first-issued claims or otherwise.” Ex. A, at 42. But the rule,

as announced by Cellect, expressly states that claims are entitled to a duly granted PTA, with a

specific condition subsequent — unless they are found to be later-filed obvious variations of

earlier-filed, commonly owned claims. If there are no earlier-filed, commonly owned claims,

over which the challenged claims are alleged to be later-filed obvious variations, the

consequence of Cellect is that the challenged claims are entitled to the duly granted PTA. This

of course makes sense since a first-filed, first-issued patent does no harm. If there is a double

patenting argument, it would necessarily concern subsequent patent filings, which are alleged to

involve a time-wise extension of the patent rights.

       Further, the Allergan opinion does not acknowledge the fact that the availability of the

OTDP references was simply not challenged in Cellect, which resulted in the Federal Circuit

definitively stating that claims are entitled to a duly granted PTA subject to the specific

conditions discussed above.

       Finally, Allergan does not involve any safe-harbor issues under 35 U.S.C. § 121, which is

an alternative, independent basis for denying MSN’s motion. Counsel for Acadia is available to

provide additional briefing on the issues if the Court would find it useful in addressing the

pending motion for summary judgment.
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 Dated: September 29, 2023             SAUL EWING LLP

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